       Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 1 of 42




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
METROPOLITAN WASHINGTON CHAPTER, )
ASSOCIATED BUILDERS AND                        )
CONTRACTORS, INC., et al.,                     )
                                               )
                              Plaintiffs       )
                                               ) No. 12-CV-00853 (EGS)
       v.                                      )
                                               )
DISTRICT OF COLUMBIA, a municipal              )
Corporation, VINCENT C. GRAY, in his official )
capacity as Mayor of the District of Columbia, )
                                               )
                              Defendants.      )


              OPPOSITION TO DEFENDANT'S MOTION TO DISMISS



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               Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 2 of 42




                                                     TABLE OF CONTENTS
                                                                                                                                         Page

I.          RESPONSE TO DISTRICT'S "FACTUAL BACKGROUND" .........................................1
II.         ARGUMENT .......................................................................................................................6
      A. THIS COURT SHOULD DENY THE RULE 12(B)(1) AND 12(B)(6) MOTIONS BECAUSE
         THE PLAINTIFFS HAVE STANDING. ........................................................................................6

                     i. Individual Plaintiffs
                     ii. Employers
                     iii. ABC-Metro Washington
      B. THE COMPLAINT STATES A CLAIM UNDER THE PRIVILEGES AND IMMUNITIES
         CLAUSE. ..............................................................................................................................16
                  i. The First Source Act violations the fundamental rights of the individual
                       plaintiffs.
                  ii. The First Source Act does not further a substantial public purpose.
                  iii. The First Source Act is not narrowly tailored to advance any public
                       interest.
                  iv. The District is not entitled to deference in identifying local "evils."
                  v. Virtually every residential preference hiring law has been struct down
                      when challenged under the Privileged and Immunities Clause.
      C. THE COMPLAINT STATES A COMMERCE-CLAUSE CLAIM. ...................................................22
      D. THE COMPLAINT STATES A CLAIM UNDER THE EQUAL PROTECTION CLAUSE. ...................24
      E.    THE COMPLAINT STATES A FIRST AMENDMENT CLAIM. .....................................................26
      F.    THE COMPLAINT STATES A DUE PROCESS CLAIM. ..............................................................28
                  i. The First Source Act is void for vagueness.
                  ii. The First Source Act infringes the plaintiffs' property interest.
      G. THE COMPLAINT STATES A CLAIM UNDER THE CONTRACT CLAUSE ...................................31
III.        CONCLUSION ..................................................................................................................32
              Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 3 of 42




                                                TABLE OF AUTHORITIES

                                                                                                                                   Page(s)
CASES

A.L. Blades & Sons, Inc. v. Yerusalim,
   121 F.3d 865 (3rd Cir. 1997) ....................................................................................................22

Abigail Alliance for Better Access to Dev. Drugs v. Eschenbach,
   469 F.3d 129 (D.C. Cir. 2006) ...................................................................................................6

Air Transp. Ass'n of Am. v. Exp.-Imp. Bank,
    Case No. 11-2024, 2012 WL 2914442 (D.D.C. July 18, 2012).........................................2. 3, 5

Allard v. Holder,
    840 F. Supp. 2d 269 (D.D.C. 2012) ...........................................................................................2

Allied Structural Steel Co. v. Spannaus,
    438 U.S. 234 (1978) .................................................................................................................32

Antilles Cement Corp. v. Fortuno,
   670 F.3d 310 (1st Cir. 2012) ....................................................................................................23

Ashcroft v. Iqbal,
   556 U.S. 662 ..............................................................................................................................2

Baldwin v. Montana Fish and Game Comm'n,
   436 U.S. 371 (1978) .................................................................................................................16

Banner v. United States,
   303 F. Supp. 2d 1 (D.D.C. 2004) .................................................................................20, 25, 26

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................7

C.M. Windows Co., Inc., v. Bernardi,
   730 F.2d 486 (7th Cir. 1984) .............................................................................................18, 21

Center for Biological Diversity v. Dep't of Interior,
   563 F.3d 466 (D.C. Cir. 2009) .................................................................................................10

Chamber of Commerce v. EPA,
   642 F.3d 192 (D.C. Cir. 2011) ...................................................................................................9

Committee for Full Emp't v. Blumenthal,
  606 F.2d 1062 (D.C. Cir. 1979) .................................................................................................8

Competitive Enter. Inst. v. Nat'l Highway Traffic Safety Admin.,
  901 F.2d 107 (D.C. Cir. 1990) .............................................................................................8, 14
             Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 4 of 42




Conservation Force, Inc. v. Manning,
   301 F.3d 985 (2002) .................................................................................................................10

Fox Fuel, a Div. of Keroscence, Inc. v. Delaware County. Sch. Joint Purchasing Bd.,
   856 F. Supp 2d 945 (E.D. Pa. 1994) ........................................................................................31

Glickman v. Wileman Bros.,
    521 U.S. 457 (1997) .................................................................................................................20

Goguen v. Smith,
   471 F.2d 88 (1st Cir.1972) .......................................................................................................29

Gordon v. Nat'l Youth Work Alliance,
   675 F.2d 356 (D.C. Cir. 1982) ...................................................................................................5

Hazardous Waste Treatment Council v. U.S. Envtl. Prot. Agency,
   861 F.2d 270 (D.C. Cir. 1988) .................................................................................................14

Health Research Group. v. Kennedy,
   82 F.R.D. 21 (D.D.C. 1979) .....................................................................................................14

Hicklin v. Orbeck,
   437 U.S. 518 (1978) ......................................................................................................... passim

Hunt v. Wash. State Apple Adver. Comm'n,
   432 U.S. 333 (1977) .............................................................................................................6, 14

J.P. Mascaro & Sons, Inc. v. Bristol,
    497 F. Supp. 625 (E.D. Pa. 1980) ............................................................................................31

Johanns v. Livestock Mktg. Ass'n,
   544 U.S. 550 (2005) .................................................................................................................20

Laborers Local Union No. 374 v. Felton Constr. Co.,
   654 P.2d 67 (Wash. 1982)........................................................................................................10

Libertarian Party v. Dist. of Columbia Bd. of Elections and Ethics,
   768 F. Supp. 2d 174 (D.D.C. 2011) .........................................................................................17

Loughlin v. United States,
   230 F. Supp. 2d 26 (D.D.C. 2002) .............................................................................................2

Martha's Vineyard/Dukes County Fishermen's Ass'n v. Locke,
  811 F. Supp. 2d 308 (D.D.C. 2011) ...........................................................................................2

McBurney v. Young,
  667 F.3d 454 (4th Cir. 2012) ..................................................................................................3, 4




                                                                    2
             Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 5 of 42




Merit Constr. Alliance v. Quincy,
   2012 WL 1357656 (D. Mass. 2012) ........................................................................................20

National Ass'n of Home Builders v. U.S. Army Corps of Eng'rs,
   539 F. Supp. 2d 331 (D.D.C. 2008) ...........................................................................................6

Naturist Soc'y, Inc. v. Fillyaw,
   958 F.2d 1515 (11th Cir. 1992) ..................................................................................................4

New Energy Co. of Ind. v. Limbach,
   486 U.S. 269 (1988) .................................................................................................................24

New Hampshire v. Piper,
   470 U.S. 274 (1985) .................................................................................................................16

Noble v. U.S. Parole Comm'n,
   194 F.3d 152 (D.C. Cir. 1999) .................................................................................................17

Northeastern Fla. Ch. of Assoc. Gen. Contractors of Am. v. City of Jacksonville,
   508 U.S. 656 (1993) ...................................................................................................................8

Perry v. Sindermann,
   408 U.S. 593 (1972) .................................................................................................................31

Phillips v. Bureau of Prisons,
   591 F.2d 966 (D.C. Cir. 1979) ...................................................................................................7

Rayco Constr. Co., Inc. v. Vorsanger,
   397 F. Supp. 1105 (D.C. Ark. 1975) ........................................................................................31

Robison v. Francis,
   713 P.2d 259 (Alaska 1986)...............................................................................................10, 21

Rumsfeld v. Forum for Academic and Inst. Rights, Inc.,
   547 U.S. 47 (2006) .............................................................................................................19. 28

Salla v. County of Monroe,
    399 N.E.2d 909, cert. denied, 446 U.S. 909 (N.Y. 1979) ........................................................21

Service Emps. Int'l Union, Local 82 v. Dist. of Columbia,
   608 F. Supp. 1434 (D.D.C. 1985) ............................................................................................16

Smith v. Goguen,
   415 U.S. 566 (1974) ................................................................................................................ 29

South Coast Air Quality Mgmt. Dist. v. EPA,
   472 F.3d 882 (D.C. Cir. 2006) .................................................................................................15




                                                                    3
             Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 6 of 42




Stephenson v. Davenport County Sch. Dist.,
    110 F.3d 1303 (8th Cir. 1997) .................................................................................................29

Supreme Court v. Friedman,
   487 U.S. 59 (1988) ...................................................................................................................17

Tasini v. N.Y. Times Co.,
   184 F. Supp. 2d 350 (D.N.Y. 2002) .......................................................................................2, 5

Telecomm. Research & Action Car, 806 F.2d 1095 (D.C. Cir. 1986) ..........................................16

Toomer v. Witsell,
   334 U.S. 385 (1948) ...........................................................................................................19, 21

United Bldg. and Constr. Trades v. Camden,
   465 U.S. 208 (1984) .................................................................................................................17

United States Sec. and Exchange Comm'n v. Brown,
   740 F. Supp. 2d 148 (D.D.C. 2010) ...........................................................................................7

United States Trust Co. v. New Jersey,
   431 U.S. 1 (1977) .....................................................................................................................32

United States v. Philip Morris USA, Inc.,
   566 F.3d 1095 (D.C. Cir. 2009) ...............................................................................................26

United States v. Playboy Entm't Group.,
   529 U.S. 803 (2000) .................................................................................................................27

United States v. Reese,
   92 U.S. 214 (1875) ...................................................................................................................30

Utility Contractors Ass'n of New England, Inc. v. City of Fall River,
    2011 WL 4710875 (D. Mass. 2011) ....................................................................................8, 12

Warth v. Seldin,
  422 U.S. 490 (1975) .................................................................................................................13

Western Power Trading Forum v. Fed. Energy Regulatory Comm'n,
   245 F.3d 798 (D.C. Cir. 2001) ...................................................................................................4

Wisconsin Dep't of Indus., Labor and Human Relations v. Gould,
   475 U.S. 282 (1986) .................................................................................................................24

STATUTES

D.C. Official Code § 2-1401.01 .........................................................................................................22




                                                                     4
              Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 7 of 42




D.C. Official Code § 2-219.01 et. seq, Workforce Intermediary Establishment and
   Reform of First Source Amendment Act of 2011 (the "Amended Act") ................1, 13, 15, 20

RULES

Fed. R. Civ. P. 8 ...............................................................................................................................7

Fed. R. Civ. P. 12(b)(1).......................................................................................................... passim

Fed. R. Civ. P. 12(b)(6) ......................................................................................................... passim

Fed. R. Civ. P. 56 .............................................................................................................................5




                                                                        5
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 8 of 42




                   OPPOSITION TO DEFENDANT'S MOTION TO DISMISS

       The District of Columbia (the "District") uses circular logic and makeweight arguments

to try to avoid this substantive challenge to an invalid law. The District's 12(b)(1) motion ignores

the well-pleaded facts demonstrating both the plaintiffs' standing and the ripeness of the current

challenge. The District's 12(b)(6) motion similarly ignores persuasive precedents which

demonstrate why the First Source Act should be declared invalid.

       But the District is surprisingly blunt in its major premise: frustrated by the Congressional

determination that it cannot enact a commuter tax, the District argues that it can enact one by a

different name. Indeed, the District labels the Congressional prohibition of a commuter tax as a

"peculiar evil" and a "local evil," which the District can "address" by discriminating against

employers and nonresident employees like the plaintiffs.1 And because the District chafes under

this "structural imbalance" created by authorized Congressional action, it now deems itself free

to ignore Constitutional limitations. The District's argument is unsupportable.

       The Complaint states plausible bases for the invalidation of the First Source Employment

Agreement Act (the "Act"), as amended by the Workforce Intermediary Establishment and

Reform of First Source Amendment Act of 2011 (the "Amended Act"), D.C. Official Code § 2-

219.01 et seq. (collectively "First Source Act"). The named plaintiffs satisfy the standing and

ripeness requirements. They have been injured by an act that violates the Constitution and need

the Court's aid.

       I.       RESPONSE TO DISTRICT'S "FACTUAL BACKGROUND"

       Although this is a 12(b)(1) and 12(b)(6) motion, nowhere in the "Factual Background"


       1
         Memorandum in Support of District of Columbia's Motion to Dismiss (Document 6, filed July
19, 2012) (hereinafter "Memo."), at 22, 25.
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 9 of 42




section of its brief does the District cite a single paragraph of the Complaint. Instead, the District

provides a lengthy digression about why it thinks the First Source Act is a good idea. That is not

the issue on a motion to dismiss as presented under either Rule 12(b)(1) or Rule 12(b)(6).

        Although the District's Rule 12(b)(1) and 12(b)(6) motions are analytically distinct, the

standard of review is the same when a defendant makes a "facial attack," as opposed to a "factual

attack" on a complaint. "Where a motion to dismiss under Rule 12(b)(1) makes a facial attack on

the complaint, the court 'must accept as true all material allegations of the complaint, and must

construe the complaint in favor of the complaining party.'" Allard v. Holder, 840 F. Supp. 2d

269, 274 (D.D.C. 2012) (citing Ord v. Dist. of Columbia, 587 F. 3d 1136, 1140 (D.C. Cir.

2009)); Martha's Vineyard/Dukes Cnty. Fishermen's Ass'n v. Locke, 811 F. Supp. 2d 308, 313

(D.D.C. 2011); Loughlin v. United States, 230 F. Supp. 2d 26, 35-36 (D.D.C. 2002).2 The same

rule applies for both types of motions. See e.g. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974) ("in

passing on a motion to dismiss, whether on the ground of lack of jurisdiction over the subject

matter or for failure to state a cause of action, the allegations of the complaint should be

construed favorably to the pleader").

        A complaint "must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.‖ Ashcroft v. Iqbal, 556 U.S. 662, 678(2009) (internal quotation

marks omitted). As discussed below, the Complaint states facts supporting a plausible claim for

relief—invalidation of the Act as unconstitutional.

        The suit is brought on behalf of a trade association, several private employers, and

several individual employees. The Complaint alleges that these employers and employees are


        2
           The gist of the District's argument seems to be that, accepting all of the allegations of the
Complaint as true, subject matter is wanting, rather than that the allegations themselves are erroneous.
Accord Tasini v. N.Y. Times Co., 184 F. Supp. 2d 350, 354 (D.N.Y. 2002) (referring to a similar challenge
as a "facial attack").


                                                   2
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 10 of 42




engaged in the construction trades and that they regularly bid on or work on projects in the

District of Columbia which are affected by the requirements of the First Source Act. (Compl. ¶¶

5-7, 14-16, 68, 74, 80). The trade association, Metropolitan Washington Chapter, Associated

Builders and Contractors, Inc. ("ABC-Metro Washington") alleges that its members, including

the employer-plaintiffs, are engaged in the construction industry in the Washington metropolitan

area. The organization promotes the philosophy of individual merit and reward and has fought

preference-based laws like the First Source Act because of the adverse impact of such laws on its

membership. (Compl. ¶¶ 4-6, 15-17, 20, 26, 32, 41, 72, 76, 86,105, 110).

       The Complaint alleges that members of ABC-Metro Washington, including the employer

plaintiffs, have had to fulfill statutory obligations under the First Source Act which have cost

them money and been contrary to their economic or organizational values. Those impacts—those

damages—are alleged in much more detail than is required under the pleading rules. For

example, plaintiff Miller & Long Concrete Construction, Inc. ("Miller & Long") has incurred

increased recruiting and training costs to deal with the strictures of the First Source Act; it has

been forced to discriminate against its own employees who reside outside the District; and it has

suffered competitive disadvantage by incurring costs to comply with the First Source Act, which

costs then increase their bids for jobs compared to other companies. (See, e.g., Compl. ¶¶ 16, 17,

23). ABC-Metro Washington has alleged facts about how its members have suffered similar

injuries because they have already been required under the First Source Act to incur costs and

undertake expensive procedures to comply. (Compl. ¶¶ 15-17, 21, 27-28, 33).

       As noted, the Complaint alleges that the plaintiffs suffered damages under both the

original and amended Acts. The Amended Act retains core aspects of the Act such as

requirements related to employment agreements, "new hire" construction contracts, targeted-




                                                3
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 11 of 42




hiring contracts, and reporting. The Amended Act continues to regulate in these areas, but

contains much more far-reaching, intrusive, and unlawful requirements than its predecessor.

(Compl. ¶ 35). These additional requirements have already harmed the plaintiffs to an even

greater extent than was true under the Act. (Compl. ¶¶ 52-53, 58-59, 64, 70-72, 75, 76). For

example, the new obligations of the Amended Act stemming from Amended Employment

Agreements, Amended Construction Contracts, and Amended Targeted-Hiring Contracts have

chilled and affected the bidding process for new work and caused Plaintiff Miller & Long to

determine that it can only perform two concrete jobs in the District at a time with its existing

workforce. (See, e.g., Compl. ¶¶ 42, 53, 59, 84-85). The substantive requirements of the

Amended Act dispel any inference that simply because an act has been in place for 30 years, the

recent amendment must be valid. 3

        The federal rules do not require a plaintiff to plead evidence, just sufficient facts to

support a plausible claim. Plaintiffs here have alleged with specificity how the First Source Act

has affected the individuals' ability to be employed, as well as the employers' decisions about

whom to employ. (See, e.g., Compl. ¶¶ 14, 15-16, 23, 43). The Complaint alleges how the

requirements to track employees by residence and thereafter deploy them in order to comply with




        3
          The District erroneously suggests that plaintiffs' claims seeking redress for the illegality of the
original Act might be moot. An amendment that leaves the key challenged features of a bill in place
without fundamentally altering them leaves a challenge to the law justiciable. Western Power Trading
Forum v. Fed. Energy Regulatory Comm'n, 245 F. 3d 798, 802 (D.C. Cir. 2001) (citing Motor &
Equipment Mfrs. Ass'n v. Nichols, 142 F. 3d 449, 458-59 (D.C. Cir. 1998); Naturist Soc'y, Inc. v. Fillyaw,
958 F. 2d 1515, 1520 (11th Cir. 1992) ("superseding statute or regulation moots a case only to the extent
that it removes challenged features of the prior law. To the extent that those features remain in
place…the case is not moot."); accord Northeastern Fla. Ch. of Assoc. Gen. Contractors of Am. v. City of
Jacksonville, 508 U.S. 656, 661-62 (1993) (holding that repeal of a challenged ordinance and enactment
of a replacement statute after the Supreme Court granted certiorari, but before it issued a decision did not
render the case moot because the new statute disadvantaged the plaintiffs "in the same fundamental
way").



                                                     4
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 12 of 42




the First Source Act have harmed the employers and their decisions to hire people or bid on jobs.

(See, e.g., Compl. ¶¶ 15. 23, 29, 60, 83).

        The District cannot credibly argue that the Complaint is lacking in factual allegations

sufficient to support a claim for relief. Instead, the District pads its Motion with a long discussion

about the concededly lawful decision by Congress to prohibit the District from imposing a tax on

the income generated by nonresidents. The District's Motion quotes a number of studies and

statistics regarding the "commuter tax" issue, almost all of which are hearsay and were generated

long after the Act was initially passed and even after the Amended Act was adopted. (Memo., at

2-3, 9-12). It is hard to discern why these materials are relevant to the Motion; they do not

address any of the concerns alleged in the Complaint.

        More to the point, the District's "Factual Background" does not quarrel with the facts

alleged in the Complaint about what the First Source Act requires or means for individuals and

companies in the position of the plaintiffs. None of the "legislative history" or the discussion

about the commuter tax can inform this Court's analysis of whether the Complaint states a

plausible claim for relief, or whether the plaintiffs have standing to bring this action. Although

on a 12(b)(1) motion, a court has authority to take into consideration extrinsic evidence, the

evidence must still be relevant and competent. The court may not consider hearsay or conclusory

statements. See Tasini, 184 F. Supp. 2d at 357 n.8 (articles and newspaper clippings do not rise

to the level of competent evidence, and should not be considered in determining subject-matter

jurisdiction). None of the extrinsic materials cited in the Motion qualifies under these criteria.4


        4
         It is not proper for this Court to consider extrinsic evidence based on a facial challenge under
Rule 12(b)(1) to the Complaint, but were this Court to decide the District has made a factual attack on the
Complaint and to consider extrinsic evidence "it should inform the parties and set a schedule for
submitting additional affidavits and documents if the parties wish." Gordon v. Nat'l Youth Work Alliance,
675 F.2d 356, 361 (D.C.Cir.1982). Under Rule 12(b)(1), "procedural safeguards equivalent to those in
Rule 56 are required." Id. at 360.


                                                    5
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 13 of 42




But even if the legislative history and the cited reports and articles in the District's Motion were

considered, the materials are still irrelevant to the issues of standing and sufficiency of pleading

raised in the 12(b)(1) Motion.

       II.     ARGUMENT

       The District moves to dismiss the Complaint under Rule 12(b)(1) and Rule 12(b)(6).

Under Rule 12(b)(1), the District argues that none of the plaintiffs has standing because the

Complaint fails to allege facts demonstrating injury stemming from the First Source Act. But the

Complaint plainly sets out those factual allegations identifying who these plaintiffs are and how

they have been injured by the unconstitutional Act. To the extent that the District is also alleging

that the dispute is not ripe, the Complaint plainly and repeatedly sets forth how the First Source

Act has already injured the plaintiffs and threatens them with immediate and continued injury.

Moreover, ABC-Metro Washington handily satisfies the test for organizational standing to

pursue this claim on behalf of its members.

       On the merits, the Complaint alleges facts from which the Court can conclude that the

First Source Act violates the Privileges and Immunities Clause, the Commerce Clause, the Equal

Protection Clause, the First Amendment, the Due Process Clause, and the Contracts Clause. The

District has not advanced a cogent argument to support employee nonresidency as a rational

basis for imposition of the additional hiring, training, paperwork, and operational requirements

on individuals or companies seeking to do business in the District. The District's Motion barely

acknowledges and does not effectively rebut the core Privileges-and-Immunities Clause

argument advanced by the individual plaintiffs.

       A.      This Court Should Deny the Rule 12(b)(1) and 12(b)(6) Motions Because the
               Plaintiffs Have Standing.


       A complaint need only set forth a short and plain statement of the claim, giving the


                                                  6
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 14 of 42




defendant fair notice of the claim and the grounds upon which it rests. See Fed. R. Civ. P. 8.

Under Iqbal and Twombly, a complaint should supply facts upon which a plausible claim for

relief is based: ―The plausibility standard is not akin to a ‗probability requirement,‘ but it asks for

more than a sheer possibility that a defendant has acted unlawfully.‖ Iqbal, 129 S.Ct. at 1949

(citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)). Plaintiffs' Complaint more

than satisfies the standards for pleading under Rule 8 and the corresponding requirements for

surviving a facial challenge under Rule 12(b)(1) and a challenge based on Rule 12(b)(6).

       The District's Motion goes far afield from the normal motion to dismiss. As if it were

filing an answer or a motion for summary judgment, the District argues that facts such as the

District's "structural deficit," "highest taxes in the nation" and "highest in the region

unemployment" provide "ample justification for the legislation challenged here." (Memo., at 2-

3). This line of argument is inappropriate in a motion to dismiss. See Phillips v. Bureau of

Prisons, 591 F.2d 966, 969 (D.C. Cir. 1979) ("The posture of the case constrained the District

Court as it does us to accept the truth of the well-pleaded factual allegations of the complaint.")

Indeed, as this Court recently stated in denying a motion to dismiss a fraud case (where a

heightened pleading standard applies), denial of the motion is appropriate if the complaint pleads

"sufficient facts to put Defendants on notice of the plaintiff's claims … [A] plaintiff does not

need to recite the evidence or plead detailed evidentiary matters." United States Sec. and

Exchange Comm'n v. Brown, 740 F. Supp. 2d 148, 162 (D.D.C. 2010) (citations omitted).

               i.      Individual plaintiff

       The District argues that the individual plaintiffs lack standing because they fail to allege

"the type of individualized harm necessary to support standing." (Memo. at 17). But the




                                                  7
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 15 of 42




Complaint alleges the facts supporting such standing for each plaintiff. To establish standing, a

plaintiff must ultimately show that:

        (1) it has suffered an 'injury in fact' that is (a) concrete and particularized and (b)
        actual or imminent, not conjectural or hypothetical; (2) the injury is fairly
        traceable to the challenged action of the defendant; and (3) it is likely, as opposed
        to merely speculative, that the injury will be redressed by a favorable decision.

South Coast Air Quality Mgmt. Dist. v. EPA, 472 F. 3d 882, 895 (D.C.Cir. 2006) (citing Friends

of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000); Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)).

        For the individual plaintiffs and employers, standing is supported by the allegations that

the provisions of the First Source Act have adversely affected their ability to bid for or secure

work on District projects in the past and will likely continue to do so, and make matters worse

under the Amended Act. Such factual allegations have supported standing in other cases in

which hiring preference laws were challenged. In Utility Contractors Ass'n of New England, Inc.

v. City of Fall River, 2011 WL 4710875 (D. Mass. 2011), the court rejected the city's argument

that the nonresident contractor lacked standing, even though the contractor did not actually bid

on the dam project for which the residential hiring preference ordinance was enacted and the city

voluntarily chose not to enforce the challenged ordinance. Rather, "the fact that [plaintiff] did not

actually bid on the dam project is irrelevant. In the bidding context, 'injury in fact' is the ability to

compete on an equal footing in the bidding process, not the loss of a contract." Id (quoting

Northeastern Fla. Chapter of Ass'd Gen'l Contractors of Am. v. City of Jacksonville, 508 U.S.

656, 657 (1993)). Having asserted that "they were not able to compete fairly in the Fall River

bidding process," the plaintiffs in Utility Contractors had established their standing to challenge

the ordinance. Id.




                                                   8
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 16 of 42




       Here, the individual plaintiffs have specifically alleged that the First Source Act hampers

their ability to find employment. (See, e.g., Compl. ¶¶ 7, 14, 23, 43, 53, 59, 83, 89). The

individual plaintiffs have alleged facts to support the conclusion that they do not stand on an

equal footing with other workers because, for example, they cannot register on the First Source

list, do not satisfy the residence hiring requirements, and, therefore, can never be in the

preference pool that the First Source Act creates. (Compl. ¶ 14). Besides the injuries they have

already suffered under the First Source Act, they have alleged ongoing and imminent injuries

caused by the Amended Act, not merely conjectural or contingent future injuries such as the

District relies upon to contend the Plaintiffs lack standing. Cf. Chamber of Commerce v. Envtl.

Prot. Agency, 642 F. 3d 192, 201 (D.C. Cir. 2011) (standing arises from impending, imminent

future injury for which there is a "substantial … probability").

       The individual plaintiffs here specifically allege competitive harm that they "are at a

significant disadvantage in seeking to fill jobs and vacancies which are required under the Act to

be filled from the First Source list." (Compl. ¶ 14). In fact, this is the precise type of competitive

economic injury that this Court recently found sufficient to satisfy the Article III "injury-in-fact"

requirement. Air Transp. Ass'n of Am. v. Exp.-Imp. Bank, Case No. 11-2024, 2012 WL 2914442

at *9-11 (D.D.C. July 18, 2012) (plaintiffs, including trade association, have standing to

challenge loan commitments made by the Ex-Im Bank in favor of foreign airline because of the

competitive economic injury). "It is clear … that the injury-in-fact requirement may be satisfied

before an injury from increased competition actually occurs." Air Transp., 2012 WL 2914442, at

*10. Furthermore, evidence that prior government action has injured the plaintiffs "provides

some support for their argument" that new similar government action will imminently cause

them injury. Id. at *11. "Because increased competition almost surely injures" a plaintiff, he does




                                                  9
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 17 of 42




not have to "wait until 'allegedly illegal transactions…hurt [him] competitively' before

challenging the regulatory…governmental decision that increases competition." Id.

       This is precisely the situation in which the plaintiff nonresident construction workers and

the ABC-Metro Washington members find themselves vis-à-vis residents and persons exempt

under the First Source Act: at a competitive disadvantage. The effect of the First Source Act is

similar to the effect of the subsidy found sufficient to support competitor standing in Air Transp.,

without regard to whether the effect was on new or existing competitors. Id. at *12-15.

       The District also argues that the individual plaintiffs are without standing because they

cannot link the Act to particular individual harm. (Memo., at 18). The District cites Center for

Biological Diversity v. Department of Interior, 563 F.3d 466 (D.C. Cir. 2009), where the court

found that petitioners were without "substantive standing" when they did not demonstrate a

causal link between Interior's initial approval of offshore oil and gas leasing and petitioners'

enjoyment of arctic wildlife. The Court deemed too "tenuous" the connection between Interior's

approval and climate change affecting wildlife—and the chain was too dependent upon

numerous third-party actors. 563 F.3d at 478.

       But the District takes this noncontroversial proposition and applies it to the individual

plaintiffs in a slick and unprincipled way—namely, arguing that these workers are not harmed by

the Act so long as they avoid situations in which the Act applies:

       Nothing in the First Source Act "prohibits [plaintiffs] from pursuing [their]
       profession in [the District], or regulates [their] ability as a noncitizen to enter or
       engage in business there." McBurney v. Young, 667 F.3d 454, 465 (4th Cir. 2012).
       The individual plaintiffs may continue to seek work on any construction project in
       the District that will hire them; those projects involving District funds have
       requirements regarding District residents that apply only to contractors and
       subcontractors, not to the individual plaintiffs. Thus, the effect of First Source on
       the individual plaintiffs is too "indirect and tangential" to constitute a legally
       cognizable harm.




                                                10
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 18 of 42




(Memo., at 19-20).

        Of course this argument is sheer nonsense. The whole purpose of the First Source Act is

to promote District resident employment at the expense of nonresident employment. To a man

facing an additional hurdle to be employed at a construction site because of where he lives,

saying to him, you "may continue to seek work on any construction project in the District that

will hire [you]" is cold comfort. And to label his position as "tangentially" and "indirectly"

related to the First Source Act is preposterous. If the First Source Act is intended to increase the

employment of residents, as the District contends, it must also certainly have a direct effect on

nonresidents seeking those same jobs. 5

        Because the impact of preferential hiring laws is far from "tangential," individual

plaintiffs have been held to have standing in similar cases. For example, the plaintiffs in Hicklin

v. Orbeck, 437 U.S. 518, 520 (1978) were "individuals desirous of securing jobs covered by the

Act but unable to qualify for the necessary resident cards…." Plaintiffs here have alleged

virtually the same thing. (See Compl. ¶ 14) ("The individual plaintiffs, as nonresidents of the

District of Columbia, are prohibited from registering on the First Source list, do not satisfy the

residency hiring requirements, and, therefore, are at a significant disadvantage in seeking to fill

jobs and vacancies which are required under the Act to be filled from the First Source list.").




        5
         The District's quotation from McBurney v. Young, 667 F.3d 454, 465 (4th Cir. 2012), in support
of its "indirect and tangential" argument is startlingly misleading. McBurney was a nonresident's
challenge to Virginia's FOIA law and the Court was considering whether the restrictions on nonresidents
affected a right protected by the Privileges and Immunities Clause, including the right to "pursue one's
calling." In that substantive context—not standing—the Fourth Circuit wrote that "[n]othing in the
language of the [Virginia FOIA law] prohibits [plaintiff] from pursuing his profession in Virginia…." Id.
But the First Source Act is intended to affect the ability of nonresident workers to pursue their calling in
the District by penalizing employers who choose to engage them instead of engaging District residents.



                                                    11
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 19 of 42




               ii.     Employers

       The District argues that the employer-plaintiffs also lack standing because their injuries

are "speculative." (Memo., at 19). But the Complaint alleges facts regarding the costs, expenses,

and disruption to their business already caused by the First Source Act. (See, e.g., Compl. ¶¶ 15-

17, 21, 27-28, 33). There is nothing "speculative" about past injuries or competitive economic

injuries. ABC-Metro Washington's members have alleged that they suffer a competitive

disadvantage in comparison to various other construction companies such as those that receive

waivers or exemptions. (Compl. ¶¶ 18, 28, 34, 44, 54, 65, 72). It will be more difficult for them

to be successful bidders and to participate in successful bids on projects subject to the Act.

(Compl. ¶ 70). This is the type of competitive harm that always confers standing upon plaintiffs.

Air Transp., 2012 WL 2914442, at *10.

       The District also argues that the injuries are "speculative" because the District has chosen

not to seek fines for noncompliance. (Memo., at 19). That argument fails to address the

allegations in the Complaint that the plaintiffs have already incurred costs and expenses and

disruption to business. (Compl. ¶¶ 16-17, 21-22, 27-28, 33, 42, 52, 58, 64, 71, 75-76).

Furthermore, the District's voluntary decision not to enforce the First Source Act does not defeat

the plaintiffs' standing. See, e.g., Utility Contractors Ass'n v. Fall River, 2011 WL 4710875 at *3

("A party who must comply with a law or face sanctions has standing to challenge its application

and therefore a party need not show that the law is being enforced or will be enforced.'")

(citations omitted). It is the First Source Act's provisions themselves, and the harm they cause,

which are to be evaluated with respect to plaintiffs' standing, not the District's voluntary decision

not to seek penalties against the named plaintiffs.




                                                 12
        Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 20 of 42




              iii.    ABC-Metro Washington

       ABC-Metro Washington has organizational standing on its own behalf as well as

representational standing on behalf of its members. See Warth v. Seldin, 422 U.S. 490, 511

(1975) ("There is no question that an association may have standing in its own right to seek

judicial relief from injury to itself and to vindicate whatever rights and immunities the

association itself may enjoy.") For itself, ABC-Metro Washington has alleged how the Act

conflicts with ABC-Metro Washington's mission and core individual-merit philosophy by

forcing construction companies to hire on the basis of District residency, as opposed to

competency and skill, and to solicit contracts for reasons besides safety, quality, and value.

(Compl. ¶¶ 4, 110).

       ABC-Metro Washington has also suffered injury as a result of having to spend resources

to inform its members of and to participate in the rule-development process relating to the

Amended Act. (Compl. ¶¶ 4, 87). Either one of these factors is a proper foundation for

organizational standing. National Ass'n of Home Builders v. U.S. Army Corps of Eng'rs, 539 F.

Supp. 2d 331, 338-39 (D.D.C. 2008) (organizational standing may be premised upon increased

expenditures devoted to counteracting the defendants' illegal practices including increased

education efforts) (citing National Taxpayer's Emp. Union v. U.S., 101 F. 3d 1423, 1429-30

(D.C. Cir. 1996)); Abigail Alliance for Better Access to Dev. Drugs v. Eschenbach, 469 F. 3d

129, 133 (D.C. Cir. 2006) (organizational standing may be premised upon a direct conflict

between the defendant's conduct and the organization's mission).

       In addition, ABC-Metro Washington has representational standing on behalf of its

members. See Hunt v. Wash. State Apple Adver. Comm'n, 432 U.S. 333, 343 (1977). The

"associational standing doctrine represents a very limited exception to the fundamental Article




                                              13
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 21 of 42




III requirement that the plaintiff before the court 'be himself among the injured.'" Health

Research Group. v. Kennedy, 82 F.R.D. 21, 25 (D.D.C. 1979) (citing Sierra Club v. Morton, 405

U.S. 727, 734-35 (1972)). An association has standing to bring suit on behalf of its members

when:

        (a) its members would otherwise have standing to sue in their own right; (b) the interests
        it seeks to protect are germane to the organization's purpose; and (c) neither the claim
        asserted nor the relief requested requires the participation of individual members in the
        lawsuit.

See Hunt, 432 U.S. at 343; see also Competitive Enter. Inst. v. Nat'l Highway Traffic Safety

Admin., 901 F. 2d 107, 111 (D.C. Cir. 1990); South Coast Air Quality Mgmt. Dist. v. Envtl. Prot.

Agency, 472 F. 3d 882, 895 (D.C. Cir. 2006); Hazardous Waste Treatment Council v. U.S. Envtl.

Prot. Agency, 861 F. 2d 270, 273 (D.C. Cir. 1988).

        "The first prong of the Hunt test will be satisfied if the organization shows that its

members have personally suffered some actual or threatened injury as a result of the putatively

illegal conduct of the defendant, and that the injury can be fairly traced to the challenged action

and is likely to be redressed by a favorable decision." Hazardous Waste Treatment, 861 F. 2d at

273. ABC-Metro Washington has set forth allegations of standing that match those found

adequate in Hunt. There, the Washington State Apple Advertising Commission had associational

standing, because (1) the statutory purpose and the actual activities of the Commission

established that it served "a specialized segment of the State's economic community which is the

primary beneficiary of its activities"; (2) because the apple growers and dealers possessed "all of

the indicia of membership in an organization," the Commission "[i]n a very real

sense…represent[ed] the State's growers and dealers"; and (3) there was a "financial nexus

between the interests of the Commission and its constituents," which made it possible that the




                                                14
           Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 22 of 42




Commission's own interests would be affected by the ligation's outcome. Kennedy. 92 F.R.D. at

26 (citing Hunt, 432 U.S. at 344-45).

       Here, ABC-Metro Washington is comprised of over 400 member companies and, as

alleged, these companies support bidding, hiring, and contracting decisions based on merit, not

factors such as residency. (See, e.g., Compl. ¶¶ 4-6, 15). The members are commercial

construction companies dedicated to hiring based on individual merit. The First Source Act

impinges upon the companies' ability to operate according to their "individual merit, level

playing field business philosophy by hiring or staffing individuals based on where they live

instead of exclusively because of the qualifications for the job." (Compl. ¶15). The Amended Act

threatens greater concrete injury to include, without limitation, preventing companies from

winning District contracts or, at least, from contracting with the most qualified personnel, as well

as fines and debarments that could affect their operations. (See, e.g., Compl. ¶¶ 39, 42, 76, 79).

       The second requirement for associational standing is that the interests the organization

seeks to protect are germane to the organization's purpose. "Germaneness is satisfied by a 'mere

pertinence' between litigation subject and an organization's purpose." Competitive Enter., 901 F.

2d at 111. ABC-Metro Washington has pleaded the facts sufficient to demonstrate germaneness,

because the association and its members are dedicated to a free-market hiring and contracting

philosophy, which is impinged by the First Source Act. (See, e.g., Compl. ¶¶ 15, 86, 110).

       ABC-Metro Washington has also pleaded facts to support the last requirement for

associational standing: neither the claim asserted nor the relief requested by way of injunction or

declaratory relief requires the participation of individual members in the lawsuit.6 In sum, the


       6
           Associational standing is not permitted if individual members of the organization are
indispensable parties to the suit. Committee for Full Emp't v. Blumenthal, 606 F. 2d 1062, 1067 (D.C.
Cir. 1979). Furthermore, associations may not assert standing to seek monetary, as distinguished from
injunctive or declaratory relief on behalf of an organization's members. United Food & Commercial


                                                 15
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 23 of 42




District's arguments about standing are contrary to the facts alleged in the Complaint. The

Plaintiffs have alleged how they have suffered injury-in-fact as well as the basis for future

injuries if the First Source Act is not voided. The manner in which the First Source Act is

unconstitutional is discussed in the next sections.

        B.      The Complaint States a Claim under the Privileges and Immunities Clause.7

                i.      The First Source Act violates the fundamental rights of the individual
                        plaintiffs.

        Under Article IV of the Constitution, the citizens of each state "shall be entitled to all

Privileges and Immunities of Citizens in the several States." The Clause prevents states from

enacting measures which discriminate against the residents of other states for reasons of

economic protectionism. See New Hampshire v. Piper, 470 U.S. 274, 285 n. 18 (1985). These

protections apply to fundamental rights involving "basic and essential activities, interference

with which would frustrate the purposes of the formation of the Union." Baldwin v. Montana

Fish and Game Comm'n, 436 U.S. 371, 387 (1978). "It is therefore not surprising that this Court

repeatedly has found that 'one of the privileges which the Clause guarantees to citizens of State

A is that of doing business in State B on terms of substantial equality with the citizens of that

State." Piper, 470 U.S. at 280. More specifically, the Supreme Court determined many years ago

that the right to pursue one's common calling in the construction industry is a fundamental right


Workers, 517 U.S. at 554; Telecomm. Research & Action Car, 806 F. 2d at 1095; Committee for Auto
Responsibility, 603 F. 2d at 998 n.13. Neither of these impediments is presented here.
        7
          The District concedes for purposes of this motion that the Privileges and Immunities Clause
applies to the District. (Memo., at 20). That concession is in line with cases which, while not holding that
the Clause binds the District, nevertheless apply the Clause and the cases interpreting the Clause. See,
e.g., Service Emps. Int'l Union, Local 82 v. Dist. of Columbia, 608 F.Supp. 1434 (D.D.C. 1985)
(challenge to District's imposition of higher bond requirements on nonresident vendors made under both
the Commerce Clause and the Privileges and Immunities Clause; Court analyzed the issue using both
clauses in striking down disparate bond requirement as applied to nonresidents). See id. at 1439-40
(quoting Toomer v. Witsell, 334 U.S. 385 (1948)).



                                                    16
            Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 24 of 42




entitled to protection under the Privileges and Immunities Clause. See Hicklin v. Orbeck, 437

U.S. 518, 524-25 (1978) and United Bldg. and Constr. Trades v. Camden, 465 U.S. 208, 222-23

(1984).8 The Complaint alleges very clearly that by discriminating against nonresidents who are

seeking to practice their trades, the First Source Act facially violates the Privileges and

Immunities Clause.

                ii.     The First Source Act does not further a substantial public purpose.

        Because hiring provisions that impose a residence preference encroach on an interest that

is "fundamental to the promotion of interstate harmony," the Supreme Court has made it clear

that the law will be struck down unless there is (1) a "substantial reason" for the differential

treatment and (2) the "degree of discrimination" bears a "close relation" to that "substantial

reason." United Bldg. and Constr. Trades Council of Camden Cnty. v. Mayor and Council of

City of Camden, 465 U.S. 208, 218, 222 (1984); see also Hicklin v. Orbeck, 437 U.S. 518 (1978)

(striking down Alaska's resident employment statute).9 The First Source Act cannot survive this

test.

        First, there is no question that the individual plaintiffs have alleged that they seek

employment from private contractors that are working on projects administered by the District or

funded in whole or in part by the District, and that the First Source Act infringes on their




        8
          In addition to the federal precedent supporting Plaintiffs' claim in this case, many state courts
have also invalidated enactments which grant an employment preference to local workers. See Laborers
Local Union No. 374 v. Felton Constr. Co., 654 P.2d 67 (Wash, 1982); Salla v. Cnty. of Monroe, 399
N.E.2d 909, cert. denied, 446 U.S. 909 (N.Y. 1979).
        9
          The District attempts to dispute the narrow tailoring requirement under the Privileges and
Immunities Clause (Memo., at 23), but this standard is well-established. See Hicklin v. Orbeck, 437 U.S.
518 (1978) (striking down Alaska's resident employment statute as not "narrowly tailored"); Supreme
Court v. Friedman, 487 U.S. 59, 65 (1988) (same); Conservation Force, Inc. v. Manning, 301 F.3d 985
(2002); Salla v. Monroe County, 399 N.E.2d 909, 913-14 (N.Y. 1979) ("In the end, nothing less than a
unique link between the interest served and the discrimination practiced will do"); Robison v. Francis,
713 P.2d 259, 264-65 (Alaska 1986).


                                                    17
           Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 25 of 42




fundamental right to pursue their common calling. (See, e.g., Compl. ¶¶ 7, 14, 23, 43, 53, 59, 83,

89-92).

After the Supreme Court's decision in Camden, the Seventh Circuit stuck down the "Illinois'

Preference to Citizens on Public Works Projects Act" as a prima facie violation of the Privileges

and Immunities Clause. C.M. Windows Co., Inc., v. Bernardi, 730 F.2d 486, 497-98 (7th Cir.

1984). While Illinois had offered no evidence to establish a substantial justification for the facial

discrimination of its hiring-preference law, the Court outlined just how difficult it would be to

show that a hiring-preference law was adequately targeted at the "peculiar source of evil" caused

by nonresidents, by showing that the challenged law both increases residential employment and

has an overall beneficial impact on residents:

          The preference law might have no effect on the unemployment rate in Illinois.
          Worse, it could boomerang, and actually increase unemployment in the
          construction industry. Suppose for example that a public construction project
          would cost $1 million if it employed both Illinois residents and nonresidents and
          $1.2 million if it employed only Illinois residents. If the higher price were more
          than the school district or other public agency was willing to pay, the project
          would not be authorized and the Illinois residents who would have worked on it
          would have to seek work elsewhere.

Id.

          Plaintiffs have alleged that the First Source Act is essentially a "job-shifting" law, which

moves work from individuals who are not paying District income taxes to people who do.

(Compl., ¶81). In other words, the Act does not create more employment, just more tax revenue

from the same jobs because of who the employees are. Indeed, the District essentially concedes

the point with its multiple references to the commuter tax and the "structural imbalance"--caused

not by lower employment but by the identity of the employees (namely, nonresident employees

not paying District taxes).




                                                  18
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 26 of 42




        "More tax revenue" does not suffice as a "substantial reason" for preferential-hiring laws.

If it did, every preferential-hiring requirement would be valid, but, of course, they are not. The

justification for the discrimination has to be substantial and linked to the "evil" the government

seeks to cure. "More tax revenue" has never been found sufficient to establish any of the

necessary elements to defend a discriminatory law like the First Source Act and the District has

not cited any cases in which that alone was found to be a substantial public purpose sufficient to

justify a residential preference.

                iii.     The First Source Act is not narrowly tailored to advance any public
                         interest.

        The First Source Act is also "not narrowly tailored to advance a public interest" because

"nonresidents are not a peculiar source of unemployment in the District, nor are they the source

of any other local 'evil.'" (Compl. ¶¶ 93, 114). In Hicklin, the Court determined that the

preferential hiring statute at issue failed to be narrowly tailored. The court noted the inadequacy

of Alaska's "across-the-board" grant of a job preference to all Alaskan residents, including "the

habitually unemployed and the employed, those in job training programs, the well trained or

poorly trained." Id. at 527-28. Much like in Alaska, the nonresidents employed in the District are

not the cause of unemployment among District residents but a symptem of the shortage of

qualified workers in the District due to other various social and economic ills which have not

been caused by nonresidents. (Compl. ¶ 81). ―The skill levels of in-migrants and seasonal

workers are generally higher than those of the unemployed or under-employed resident workers.

Their ability to command jobs in Alaska is a symptom of, rather than the cause of conditions

resulting in high unemployment rates, particularly among Alaska Natives. Those who need the

jobs the most tend to be undereducated, untrained, or living in areas of the state remote from job

opportunities." Hicklin, 437 U.S. at 527.



                                                19
           Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 27 of 42




          The District specifically says that the District's inability to enact a commuter tax is a

'peculiar source of the evil' the District is attempting to address." (Memo., at 25). Apparently, the

District is arguing that Congress' exercise of its plenary authority under the Constitution to

legislate for the District of Columbia has created an "evil," which the District declares itself

authorized to "address" with a discriminatory law. The District cites no precedent or authority for

the position that Acts of Congress create "evils" which local jurisdictions can "address" by

adopting residence-preference laws. In fact, this argument makes no sense, since Congress acts

as the District's local government when it legislates in this manner. See Banner, 303 F. Supp. 2d

at 14 ("District residents are not unrepresented citizens of the taxing legislature as plaintiffs

claim, instead, they have 'adopted the whole body of Congress for [their] legitimate

government.'‖) (quoting Loughborough v. Blake, 18 U.S. (5 Wheat.) 317, 324 (1820)).

                 iv.     The District is not entitled to deference in identifying local "evils."

          The District argues that it is entitled to "considerable leeway in analyzing local evils and

prescribing appropriate cures" because it is "merely setting conditions on the expenditure of

funds it controls.‖ (Memo., at 21-25) But as the District must concede,some of the projects

subject to the First Source Act are only partially funded by the District. (Memo., at 26). And, as

the Complaint points out, the First Source Act impacts far more than the expenditure of the

District's own funds. (Compl. ¶¶ 11, 37-38). The First Source Act makes clear that it also affects

funds which "the District government administers." D.C. Official Code § 2-219.01(1)(A)-(1)(B)

(2011).

          Additionally, the case law does not support granting any deference to the District to

violate the Privileges and Immunities Clause. "Because a 'market participant' determination is




                                                   20
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 28 of 42




irrelevant in a case which is litigated under the privileges and immunities clause, [the

government's] reliance on the 'market participant' analysis…is misplaced." People ex rel.

Bernardi, 464 N.E.2d 1019, 1022 (Ill. 1984) For example, the "'Alaska Hire' statute struck down

in Hicklin…is an example of a case in which the proprietary interest of the state was entitled to

little or no deference. An example where more leeway is due might be a case in which a state

law requires residency as a qualification for important non-elective public offices." See Robison

v. Francis, 713 P.2d at 264-65.

               v.      Virtually every residential-preference hiring law has been struck down
                       when challenged under the Privileges and Immunities Clause

       In defending the First Source Act, the District confronts a mountain of cases that have

condemned various residence preference laws as unconstitutional under the Privileges and

Immunities Clause. See e.g. Hicklin, 437 U.S. at 525-26; Toomer, 334 U.S. at 398; Piper, 105

S.Ct. at 1279; Robison, 713 P.2d at 265; Utility Contractors Ass'n of New England, Inc. v. City

of Fall River, 2011 WL 4710875 (D. Mass. 2011). In their attempts to defend these laws, many

states and cities have pointed to conditions similar to those highlighted by the District, including

their dire financial circumstances and high unemployment and poverty rates. See also Salla, 399

N.E.2d at 913-14; Merit Constr. Alliance v. Quincy, 2012 WL 1357656, *3 (D. Mass. 2012).

However, the courts have rejected these arguments for the very reason that the District's

arguments must be rejected: residence preference laws amount to economic protectionism

targeted at a nonresident's protected right—the right to pursue one's calling anywhere in the

nation, without discriminatory barriers erected at state and local borders. As set forth by the court

in Utility Contractors Ass'n of New England, Inc. v. Worcester, "[i]t is more than a stretch to

suggest that nonresident employment on public construction projects—or in the construction

sector generally—is responsible for the far-reaching economic problems the City describes.



                                                 21
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 29 of 42




Discrimination predicated on such a finding smacks of the very interstate protectionism that the

Privileges and Immunities Clause is intended to combat." 236 F. Supp. 2d 113, 120 (D.Mass.

2002) (citing Piper, 470 U.S. at 285 n. 18, 105 S.Ct. 1272 (noting that the Privileges and

Immunities Clause prohibits discriminatory measures aimed at making in-staters more

competitive).

       The District's attempt to characterize its situation as "unique" (Memo., at 2, 23), and its

assertion that more District-resident jobs means more District-resident tax revenue (Memo., at

25) cannot possibly make its discrimination constitutional. There is nothing unique about cities

having greater social needs than diminishing tax revenues can cover. See A.L. Blades & Sons,

Inc. v. Yerusalim, 121 F.3d 865, 872 (3rd Cir. 1997) (affirming district court's holding that the

rate of ―unemployment among Pennsylvania construction workers ... [is not] unique, and is not a

‗local problem‘ justifying ‗protectionist‘ measures relative to other states"). If that were enough

to justify these types of discriminatory laws, then these arguments would have already saved the

many residence preference laws which have been struck down.

       C.       The Complaint States a Commerce-Clause Claim.

       In seeking to dismiss the Commerce-Clause claim, the District simply ignores the facts

pleaded in the Complaint and the language of the First Source Act itself. The First Source Act

does not simply regulate transactions in which the District has entered into a contract to spend its

own money. Among other things, the Amended Act governs the actions of a "recipient" of

"government economic development action," which includes a grant or a tax abatement or tax-

increment financing. D.C. Official Code § 2-219.01 (2011) (discussed in Compl. ¶¶ 11, 37-38).

Where the District is attempting to control this wide range of construction projects to which it

has only a slight financial contact, it is not a private purchaser exempt from the Commerce

Clause in its discriminatory requirements, but rather a market regulator enforcing discriminatory


                                                22
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 30 of 42




regulation on the broader market. See Antilles Cement Corp. v. Fortuno, 670 F.3d 310, 330 (1st

Cir. 2012) (finding that Commonwealth fit within market participant exception under statute

because law had no bearing on private construction projects that were subsidized by the

Commonwealth, otherwise "then arguably it would be acting as a market regulator, and the

outcome of this appeal might be different.") (emphasis added).

       The District said it best: the dispositive factor here is that "Plaintiffs allege that the

District 'has acted and is acting as a market regulator' through the First Source Act, which

impermissibly burdens interstate commerce." (Compl. ¶¶ 96-99). (Memo., at 25-26). Plaintiffs

back up this claim with specific, factual allegations regarding the broadly regulatory nature of

the First Source Act, which includes detailed requirements about recruiting, advertising, and

reporting on projects the District does not even fund and which apply to several tiers of

subcontractors, with the result that the First Source Act's requirements reach down to companies

and individuals who are subcontractors to other subcontractors. (See, e.g., Compl. ¶¶ 12, 29-31,

37-38, 45, 47, 51, 60-61, 73).

       Even with respect to a state acting as a market participant, "a state-proprietor may

discriminate against foreign commerce only within the narrow market realm in which it

operates." Antilles Cement Corp. v. Fortuno, 670 F.3d 310, 330 (1st Cir. 2012); see also South–

Central Timber, 467 U.S. at 99 (holding that a state ―may not avail itself of the market-

participant doctrine to immunize its downstream regulation of [a] market in which it is not a

participant‖). Through the First Source Act, the District reaches far beyond the parties with

whom it directly contracts for construction services and reaches out to regulate the recruiting,

hiring, and compliance reporting and to levy potential fines and debarments on virtually every

subcontractor in the Washington metropolitan area. (See, e.g., Compl. ¶¶ 48, 51, 61). By




                                               23
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 31 of 42




regulating behavior that is unrelated to its own purchase of development services, the District has

"acted more like a sovereign than a private company." See South Cent. Timber, 467 U.S at 99;

see also New Energy Co. of Ind. v. Limbach, 486 U.S. 269, 277–78 (1988) (holding that when a

state is acting as a regulator rather than as a market participant, it cannot institute discriminatory

policies).

        In Wisconsin Dep't of Indus., Labor and Human Relations v. Gould, 475 U.S. 282 (1986),

the court held that the market-participant exception did not apply to a statute that debarred repeat

offenders of the NLRA from bidding on future state contracts. "[B]y flatly prohibiting state

purchases from repeat labor law violators Wisconsin simply is not functioning as a private

purchaser of services; for all practical purposes, Wisconsin's debarment scheme is tantamount to

regulation." Id. at 289. "Where, as here, the market participant exception does not apply and

where Congress has not spoken otherwise, state laws that on their face discriminate against

foreign commerce are almost always invalid." Antilles Cement, 670 F.3d at 330 (citing Fulton

Corp. v. Faulkner, 516 U.S. 325, 331 (1996)).

        D.     The Complaint States a Claim under the Equal Protection Clause.

        The Equal Protection Clause requires "that the government not treat similarly situated

individuals differently without a rational basis."10 Noble v. U.S. Parole Comm'n, 194 F.3d 152,

154 (D.C. Cir. 1999). As discussed above, the First Source Act does not provide a rational basis

for treating nonresident employers and employees differently than resident employers and

employees. Unless the District's ability to "address" the "evil" of not having a commuter tax

states a reasonable basis for government action—which it does not—there is no rational basis for

the conceded discrimination.

        10
           The equal-protection guarantee in the Fourteenth Amendment is applied to the District through
the Fifth Amendment. Libertarian Party v. Dist. of Columbia Bd. of Elections and Ethics, 768 F. Supp. 2d
174, 177 n.4 (D.D.C. 2011).


                                                  24
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 32 of 42




        The allegations of the Complaint are sufficient to state an equal-protection claim. The

Complaint plainly identifies the plaintiffs' proper comparators--individuals who are residents of

the District or employers who have sufficient resident employees to satisfy the First Source Act

and who do not object to the type of discriminatory conduct the First Source Act requires.

(Compl. ¶¶ 18, 28, 34, 44, 54, 65, 72, 105, 106, 107). The fact that the Complaint does not name

XYZ Company or Mr. John Smith as "similarly situated" does not make the Complaint defective

any more than would failing to identify by name individuals who have not been discriminated

against for purposes of a claim for racial discrimination. The District is arguing that the evidence

must be set forth in the Complaint, but that is not a pleading requirement.

        Throughout its brief, the District misquotes and misuses Banner v. United States, 303 F.

Supp. 2d 1 (D.D.C. 2004), in an attempt to shore up its arguments. For example, in asserting that

plaintiffs do not have a valid equal-protection claim, the District cites Banner for the proposition

that "District residents who work here are not similarly situated to out-of-state residents

employed here.‖ Banner, 303 F. Supp. 2d at 16. But the quotation is misused by the District. The

court in Banner was considering a challenge to a federal law based on the District residents' lack

of a congressional representative to vote for or against that law. See Banner, 303 F. Supp. 2d at

14 ("It is thus impossible to accept plaintiffs' premise that the Prohibition is subject to attack

based on a lack of representation in Congress, given that this very lack of suffrage is

constitutionally derived."). In that respect, District residents are differently situated than the

citizens of other states, but not in the sense that the District's Motion to Dismiss tries to

suggest.11


        11
           The District also inaccurately cites Banner for the proposition that "'the District is the only
jurisdiction in the United States denied the benefit of taxing income within its borders.' Banner, 303 F.
Supp. 2d at 3." (Memo., at 10). The court merely quotes plaintiffs' allegation to this effect without finding
as such as follows: "Amici for plaintiffs argue that the District is the only jurisdiction…." Id. (emphasis


                                                     25
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 33 of 42




       A simple reading of Banner makes it clear that that case has no bearing upon this one.

The First Source Act discriminates against the individual plaintiffs who do not reside in the

District, although they are otherwise similarly situated to construction workers who live in the

District and are applying for the same construction jobs. These allegations are clearly set forth in

the Complaint. (See, e.g., Compl. ¶14). Therefore, plaintiffs have sufficiently alleged an equal-

protection claim.

       E.      The Complaint States a First Amendment claim.

       Plaintiffs have alleged the necessary facts to establish that the First Source Act violates

plaintiffs' right to free speech. The District concedes two categories of valid First Amendment

challenges, both of which are pled in the complaint: "compelled speech" and "compelled

subsidy" challenge. Johanns v. Livestock Mktg. Ass'n, 544 U.S. 550, 557 (2005). With respect to

the former, "[t]he First Amendment protects against government infringement on 'the right to

speak freely and the right to refrain from speaking at all.'" United States v. Philip Morris USA,

Inc., 566 F.3d 1095 (D.C. Cir. 2009). Indeed, the "freedom of speech prohibits the government

from telling people what they must say." Rumsfeld v. Forum for Academic and Inst. Rights, Inc.,

547 U.S. 47, 61 (2006). A speaker typically "has the autonomy to choose the content of his own

message." Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, Inc., 515 U.S. 557, 573

(1995). And, in fact, "[f]or corporations as for individuals, the choice to speak includes within it

the choice of what not to say." Pac. Gas & Elec. Co. v. Pub. Utils. Comm'n of Cal., 475 U.S. 1,

16 (1986). Thus, where a statute "mandates speech that a speaker would not otherwise make,"

that statute "necessarily alters the content of the speech." Entertainment Software Ass'n v.

Blagojevich, 469 F.3d 641, 651 (7th Cir. 2006). When, as in this case, the compelled speech is

added). The District also misuses Banner by suggesting that the court made a finding or held that the
inability to impose a commuter tax was the cause of the District's deficit (Memo., at 10), when, once
again, the court was only discussing plaintiffs' allegations. See id. at 8.


                                                 26
             Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 34 of 42




not purely factual and uncontroversial information,12 content-based regulations are subject to

strict scrutiny analysis. R.J. Reynolds, 823 F. Supp. 2d at 46; United States v. Playboy Entm't

Grp., 529 U.S. 803, 813 (2000). To survive strict scrutiny, the government must demonstrate that

the statute is "narrowly tailored to promote a compelling Government interest." Id. at 811. Even

compelled factual and uncontroversial information may not be "unjustified or unduly

burdensome." R.J. Reynolds, 823 F. Supp. 2d at 45.

        As stated in the Complaint, the First Source Act forces the employer plaintiffs to engage

in speech, such as compelling them to plan for and adopt policies and provide detailed reports on

their employees and on their business practices solely on the basis of the residence of those

employees. (See, e.g., Compl. ¶ 111). It requires plaintiffs to submit "employment plans"

outlining their strategy to meet the District's hiring requirements contrary to their business

philosophy. (Compl. ¶¶ 49(e), 66-67, 69, 71, 73). Plaintiffs must post job information on the

District's website and District newspapers (in order to be considered for a "good faith" waiver)

seeking exclusively District residents. (Compl. ¶¶ 45, 49(b)) (citing D.C. Official Code § 2-

219.03(e)(3)(B)). Plaintiffs are required not merely to fund government speech, but to

themselves adopt, promote, and be identified with it such that the speech on the issue of

residence and who should get jobs is attributed to them. (Compl. ¶113). Cf. Johanns, 544 U.S. at

565 ('if it were established…that individual beef advertisements were attributed to respondents,"

then the parties could state a claim for violation of the First Amendment); accord 544 U.S. at

568 ("if the advertisements associated [the government's] pro-beef message with either the



        12
            The line of cases involving non-ideological speech about purely factual information necessary to protect
consumers from confusion or deception such as proper labeling is not relevant to the District's compelled
discriminatory speech about residency. See Glickman v. Wileman Bros., 521 U.S. 457, 475 (1997) (generic fruit
advertising "not used to fund ideological activities.") Furthermore, unlike Johanns, 544 U.S. at 559, the steps the
Plaintiffs must take to comply with the First Source Act are not minimal or of negligible monetary value; they
disqualify Plaintiffs altogether from working on projects.


                                                        27
              Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 35 of 42




individual or organization respondents, then respondents would have a valid as-applied First

Amendment challenge.") (J. Thomas, concurring). The content of this compelled speech through

reports, advertisement, education, and other communications is inconsistent with plaintiffs'

beliefs promoting free enterprise, open competition, individual merit, and a level-playing-field

philosophy in the construction industry. (Compl. ¶ 110). The First Source Act has as a purpose to

impose a differential adverse impact upon the opposite viewpoint, namely the viewpoint of

ABC-Metro Washington and their members that they should be free to hire qualified works and

to staff their jobs as they see fit without regard to the residency of the employees. (Compl. ¶

113). It requires the plaintiffs to choose between contracting with the District and espousing the

District's discriminatory and unlawful message and thereby infringes plaintiffs' constitutional

rights. Rumsfeld, 547 U.S. at 59. Accordingly, this is much different from the facts of Rumsfield

involving law schools not required to speak at all or limited in any respect as to what they could

say, but merely required to grant equal access to military recruiters. The First Source Act

affirmatively requires discriminatory speech and conduct.13 Id. at 60. Therefore, Plaintiffs have

sufficiently alleged a free-speech claim.

         F.       The Complaint States a Due Process Claim.

                  i.       The First Source Act is void for vagueness.

         Plaintiffs have also provided the factual allegations to establish a valid claim that the First

Source Act is so vague that it is constitutionally deficient under the Due Process Clause. (See,

e.g., Compl. ¶¶123-26). ―The void-for-vagueness doctrine is embodied in the due process clauses


         13
             In contrast to this case, the outcome in Rumsfeld also depended on a connection with Congress' power to
provide for the common defense. Rumsfeld, 547 U.S. at 59 (Art. I, s. 8, Cls. 1, 12-13, U.S. Constitution). Also, in
Rumsfeld, the court made clear that Congress could directly require universities to provide military recruiters equal
access to their students, so there was no unconstitutional condition confronted by the law schools. Id. In contrast, the
District cannot validly require discrimination against nonresidents either indirectly (by conditioning related funding
on it) or directly.



                                                          28
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 36 of 42




of the [F]ifth and [F]ourteenth [A]mendments.‖ Stephenson v. Davenport Cnty. Sch. Dist., 110

F.3d 1303, 1308 (8th Cir.1997) (quoting D.C. and M.S. v. City of St. Louis, Mo., 795 F.2d 652,

653 (8th Cir.1986)). The due-process doctrine under the Fourteenth Amendment ―incorporates

notions of fair notice or warning.‖ Smith v. Goguen, 415 U.S. 566, 572 (1974) (Goguen II).

Indeed, ―the essence of the due process clause of the Fourteenth Amendment, is the rule that all

persons ‗are entitled to be informed as to what the state commands or forbids.‘‖ Goguen v.

Smith, 471 F.2d 88, 94 (1st Cir.1972) (quoting Papachristou v. City of Jacksonville, 405 U.S.

156, 162 (1972)).

        The First Source Act violates these fundamental constitutional rights in several ways.

For example, as plaintiffs allege, the D.C. Human Rights Act and the First Source Act impose

conflicting requirements upon the employer-plaintiffs.14 The former requires employers not to

discriminate "by reason of … place of residence or business, see D.C. Official Code § 2-1401.01,

whereas the First Source Act requires the opposite. (Compl. ¶ 124). The First Source Act

"requires the doing of an act in terms so vague that [persons] of common intelligence must

necessarily guess at its meaning and differ as to its application....‘‖ Stephenson, 110 F.3d at 1308

(quoting Goguen II, 415 U.S. at 573, 94 S.Ct. 1242).

        Moreover, the First Source Act should be struck down as unconstitutional because the

void-for-vagueness doctrine prevents arbitrary and discriminatory enforcement of the laws. Id.

Legislatures must set reasonably clear guidelines for law-enforcement officials and triers of fact

in order to prevent arbitrary and discriminatory enforcement. Goguen II, 415 U.S. at 573.

        14
            Mayor's Order 2006-151, amending Mayor's Order 2002-175, states: "All documents that
recite the District of Columbia's policy against discrimination shall fully enumerate all [19] categories of
discrimination protected from discrimination by the Human Rights Act of 1977….The following
language shall be stated in all such documents. "The District of Columbia does not discriminate on the
basis of actual or percieved: race, color, religion…place of residence or business." At a minimum, these
factors make it necessary for a person of common intelligence to guess as to how to apply the
discriminatory provisions of the First Source Act, such that the statute is unconsitutionally vague.


                                                    29
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 37 of 42




Otherwise, a ―vague law impermissibly delegates basic policy matters to policemen, judges, and

juries for resolution on an ad hoc and subjective basis....‖ Stephenson, 110 F.3d at 1308 (quoting

Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972)); see also United States v. Reese, 92

U.S. 214, 221 (1875) (―It would certainly be dangerous if the legislature could set a net large

enough to catch all possible offenders, and leave it to the courts to step inside and say who could

be rightfully detained, and who should be set at large.‖)

       The Complaint provides numerous allegations concerning the unfettered discretion the

First Source Act accords the Mayor to grant various waivers, require alternatives to construction

contracts, and decide what fines to impose. (See, e.g., Compl. ¶¶ 39, 55, 62, 78-79, 125). It is up

to the Mayor to decide essentially without guidance whether contractors have made a "good-faith

effort" to comply with the First Source Act. (Compl. ¶¶ 39, 50, 57, 62, 78, 125). Likewise,

"[w]henever the Mayor determine[s] that the goal of increasing employment opportunities for

District residents may be better served," he may exempt projects or contracts from various

requirements, favoring certain businesses over others for political or other reasons. (Compl. ¶ 24,

55). And the First Source Act does not explain how or when the Mayor can determine that the

goal could be "better served." (Compl. ¶ 24, 55). This discretion is not the result of mere

imprecision in language as the District alleges, but of intentionally and unlawfully delegating to

the Mayor the authority to preempt entire sections of the First Source Act. Especially where a

statute's literal scope, as here, ―is capable of reaching expression sheltered by the First

Amendment, the [void-for-vagueness] doctrine demands a greater degree of specificity than in

other contexts.‖ Goguen II, 415 U.S. at 573.

               ii.     The First Source Act infringes the plaintiffs' property interest.

       Plaintiffs challenge the First Source Act as a violation of their rights protected under the




                                                 30
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 38 of 42




Due Process Clause by showing either (1) that they have a property interest in a contract that can

only be cancelled "for cause," Perry v. Sindermann, 408 U.S. 593, 599-601 (1972), or (2) that

they have a liberty interest in (a) their status as a responsible bidder and/or their freedom from

debarrment penalties, see J.P. Mascaro & Sons, Inc. v. Bristol, 497 F. Supp. 625, 628 (E.D. Pa.

1980), or (b) their avoidance of the stigma created by fines or a bad reputation for allegedly

violating the First Source Act that would deprive them of their freedom to take advantage of

other business opportunities. See Fox Fuel, a Div. of Keroscence, Inc. v. Delaware Cnty. Sch.

Joint Purchasing Bd., 856 F. Supp 2d 945, 950-51 (E.D. Pa. 1994) (citing Board of Regents v.

Roth, 408 U.S. 564, 573-74 (1972)); see also Rayco Constr. Co., Inc. v. Vorsanger, 397 F. Supp.

1105, 1110-11 (D.C.Ark. 1975) (in response to the state's contention that the bidding preference

served the alleged financial interest of increasing tax revenues, the court struck down the statute

under the rational basis test, stating that "the trouble with that proposition is that its truth is not

self-evident, and there is no evidence before us tending to show that the preference has in fact

served the fiscal interests of State and local government in Arkansas in any significant way or

that it is likely to do so in the future"). Plaintiffs' Complaint sets forth factual allegations that

establish the violation of their substantive due process rights under the Constitution. (Compl. ¶¶

118-120).

Consequently, the plaintiffs have stated a claim for violation of the Due Process Clause.

       G.      The Complaint States a Claim under the Contract Clause

       Plaintiffs have set forth allegations in their Complaint that establish a valid Contract

Clause claim against the District. (See, e.g., Compl. ¶¶ 128-34). Specifically, plaintiffs have

alleged that the District violated the Contract Clause by enacting the Amended Act and applying

it retroactively to impair contract rights with respect to contracts entered into between the parties

prior to the effective date of the Amended Act. (See, e.g., Compl. ¶¶ 80, 119). "It long has been


                                                  31
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 39 of 42




established that the Contract Clause limits the power of the States to modify their own contracts

as well as to regulate those between private parties." United States Trust Co. v. New Jersey, 431

U.S. 1, 17 (1977) (citing Fletcher v. Peck, 6 Cranch 87, 137-139, 3 L. Ed. 162 (1810);

Dartmouth College v. Woodward, 4 Wheat. 518, 4 L. Ed. 629 (1819)).

       When a state passes a law that modifies its own contractual obligations, the Supreme

Court has held that it must meet a higher level of scrutiny. See United States Trust Co., 431 U.S.

at 29 ("[A] State cannot refuse to meet its legitimate financial obligations simply because it

would prefer to spend the money to promote the public good rather than the private welfare of its

creditors. We can only sustain the [legislative action] if that impairment was both reasonable and

necessary to serve the admittedly important purposes claimed by the State."); see also Allied

Structural Steel Co. v. Spannaus, 438 U.S. 234, 244 (1978) ("The threshold inquiry is 'whether

the state law has, in fact, operated as a substantial impairment of a contractual relationship.'")

Plaintiffs' allegations establish that the District's retroactive application of the Amended Act's

requirements to construction service contracts entered into under the prior Act substantially

impaired their contractual relationship and that impairment is neither reasonable nor necessary.

(Compl. ¶¶ 80, 119, 128-134).

       III.    CONCLUSION

       Plaintiffs' Complaint asserts a valid constitutional challenge to the First Source Act. The

District's Motion to Dismiss does not provide the necessary showing of deficient allegations with

respect to any of plaintiffs' counts. Instead, the District uses its motion to detail the District's

significant economic and social challenges, including the congressional ban on a District

commuter tax. Other than as support for the District's assertion that it is unique and, therefore,

somehow justified to enact a discriminatory law, it is unclear how its argument is relevant to its

assertion that the Complaint fails to state a claim or that plaintiffs lack standing. The District has


                                                 32
         Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 40 of 42




certainly not met the significant burden imposed on a party seeking to dismiss a complaint under

12(b)(6) or 12(b)(1).

        The District's law prevents the individual plaintiffs from exercising their fundamental

right to pursue their common calling in the District of Columbia, erecting artifical jurisdicitional

boundaries of the very type that the Privileges and Immunities Clause is meant to prevent.

Moreover, the First Source Act discriminates against all of the plaintiffs by violating several of

their constitutional rights. The Complaint sets forth allegations that adequately establish its

claims that the First Source Act is unconstitutional as a violation of the Privileges and

Immunities Clause, the Commerce Clause, the Equal Protection Clause, the First Amendment,

the Due Process Clause and the Contracts Clause. Additionally, the Complaint provides clear

support for standing with respect to the individual plaintiffs, the employer-plaintiffs and the

associational plaintiff.

        For all the foregoing reasons, plaintiffs respectfully request that this Court deny

Defendant's Motion to Dismiss and direct the District to file its answer to the Complaint.



                                              Respectfully submitted,




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                                                33
Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 41 of 42




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                              34
        Case 1:12-cv-00853-EGS Document 9 Filed 08/27/12 Page 42 of 42




                                CERTIFICATE OF SERVICE


                I HEREBY certify that on August 27, 2012, I electronically filed the Opposition
to Defendant's Motion to Dismiss with the Clerk of Court for the United States District Court for
the District of Columbia by using the ECM-ECF System.

                I CERTIFY that all participants in the case are registered CM-ECF users and that
service will be accomplished by the ECM-ECF System.


                                                                  /S/
                                                            Karen Boyd-Williams




                                               35
